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                     IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              PINE BLUFF DIVISION

ELVA WHITEN                                                          PLAINTIFF

VS.                           CASE NO: 5:07-CV-00026

STUTTGART REGIONAL MEDICAL CENTER                                    DEFENDANT

PLAINTIFF’S MOTION FOR EXTENSION OF TIME TO FILE RESPONSE TO
        DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

        COMES now the Plaintiff, ELVA WHITEN, by and through her attorney,

Teresa Bloodman, and for her Motion For Extension of Time to Respond to

Defendant’s Motion For Summary Judgment moves this Court for an Order for the

following reasons:

1.     On July 17, 2007, plaintiff propounded interrogatories and requests for production

of documents to defendant.

2.     On July 17, 2007, in defendant’s response to plaintiff’s interrogatories and

requests for production and defendant’s amended response on October 20, 2007,

defendant invoked the attorney-client privilege and rights of third parties and

declined to answer the majority of propounded interrogatories and requests for

production.

3.     Defendant’s counsel stated he withheld requested documents pending a

Protective Order.

4.     In October 2007, defendant’s counsel served plaintiff’s counsel a Protective Order

bearing his signature.

5.     In October 2007, plaintiff’s counsel signed the same, made a copy of the same,

and returned the original copy to defendant’s counsel for filing.
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6.     On December 5, 2007, plaintiff filed a motion to compel more responsive answers

and requests for production of documents.

7.     On December 17, defendant’s counsel filed a response to plaintiff’s motion to

compel more responsive answers and requests for production of documents.

8.     On December 19, 2007, defendant’s counsel filed the original copy of the

signed Protective Order.

9.     On December 19, 2007, defendant filed a Motion for Summary Judgment.

10.    On December 20, 2007, the Court issued an Order that plaintiff’s motion to

compel more responsive answers should be denied at this time.

11.    On December 27, 2007, the Court entered a Protective Order that SRMC shall

provide undersigned counsel information or documentation.

12.    Plaintiff’s counsel has conferred in good faith with opposing counsel regarding

filing of this Motion to Extend Time for Filing a Response to Defendant’s Motion for

Summary Judgment and he does not oppose the extension of seven days.

13.    Plaintiff’s deadline for filing a response to defendant’s motion for summary

judgment is December 30, 2007.

14.    On December 27, 2007, defendant’s counsel stated he will have the documents

delivered to plaintiff’s counsel’s office by 2:00 p.m. today.

15. At the filing of this motion, plaintiff’s counsel has not received any “protective

documents” from defendant’s counsel.

16.    The plaintiff’s counsel is in the process of preparing a response to defendant’s

motion for summary judgment.

17. The “protective documents” and interrogatories and requests for production of
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documents and are vital to the development of this case and plaintiff’s response to

defendant’s motion for summary judgment.

18. The “protective documents” and interrogatories and requests for production of

documents are believed to contain information of disputed facts in this case.

19.     Upon receipt of “protective documents” plaintiff’s counsel will need to review,

and investigate the information in order to prepare a thorough response to defendant’s

motion.

20.     Defendant has withheld said “protective documents” since the inception of this

case, some of which are documents that should have been turned over to plaintiff’s

counsel at the inception of this case.

21.     In the interest of fairness and justice, plaintiff requests an addition fourteen (14)

days extension in order to receive the “protected” documents from defendant’s counsel,

review the documents upon receipt, determine if any of plaintiff’s requested documents

have continued to be omitted, and file a response to defendant’s motion for summary

judgment.

      WHEREFORE, Plaintiff prays that plaintiff’s Motion for Extension of Time to

Respond to Defendant’s Motion for Summary Judgment be granted by allowing plaintiff

an extension of fourteen (14) days to file an answer and for all other relief deemed proper

and just.

                                               Respectfully Submitted,

                                               /s/Teresa Bloodman# 2005055
                                               Attorney for Plaintiff
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                               CERTIFICATE OF SERVICE

I, hereby certify that I have served a copy of the foregoing Motion For Extension of Time
to Respond to Defendant’s Motion For Summary Judgment electronically, on this 28th
day of December, 2007 to the following:

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